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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 ORLANDO A. ACOSTA, et al.,

                          Plaintiffs,
                                                               CIVIL ACTION
        v.                                                     NO. 17-1462

 DEMOCRATIC CITY COMMITTEE, et al.

                          Defendants.


                                            ORDER

       AND NOW, this 22nd day of January 2018, upon consideration of the Second Amended

Complaint of Orlando A. Acosta and Edward Lloyd; the Amended Complaint of Lucinda Little,

Cheri Honkala, The Green Party of Pennsylvania, Republican City Committee of Philadelphia,

and the Republican Party of Pennsylvania; Defendants’ Motions to Dismiss; Plaintiffs’

Responses in Opposition; Defendants’ Reply Briefs; the arguments of counsel for the parties at

the September 14, 2017 hearing; the Supplemental Briefs; and in accordance with the Opinion

issued by the Court on this day, it is ORDERED as follows:

       1. Defendants’ Motions to Dismiss the Second Amended Complaint (Civ. Action No.

             17-1462, Doc. No. 11) and the Amended Complaint (Civ. Action No. 17-1562, Doc.

             No. 2) are GRANTED.

       2. Plaintiffs are given twenty (20) days from the date of this Order in which to file

             amended Complaints against all Defendants if warranted, except for the Pennsylvania

             Department of State, Bureau of Commissioners, Elections and Legislation.




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3. Defendants shall respond to any amended Complaint within twenty-one (21) days of

   their filing.



                                         BY THE COURT:



                                         / s / J oel H. S l om s k y
                                         JOEL H. SLOMSKY, J.




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